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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
BLACK LOVE RESISTS IN THE RUST, et al.,

                                  Plaintiffs,
                                                                    Case No. 1:18-cv-719
- vs –

CITY OF BUFFALO, N.Y., et al.,

                                   Defendants.
-------------------------------------------------------------x

   PLAINTIFFS’ NOTICE OF MOTION TO COMPEL DEFENDANTS TO PRODUCE
     BUFFALO POLICE DEPARTMENT INTERNAL AFFAIRS DIVISION FILES

         PLEASE TAKE NOTICE that Plaintiffs will move this Court, pursuant to Federal Rules

of Civil Procedure 37(a)(3)(B)(iii) & (iv), on a return date to be determined by the Court, for an

Order compelling Defendants to produce certain Buffalo Police Department (BPD) Internal

Affairs Division (IAD) files regarding citizen complaints about (i) BPD checkpoints, (ii) racial

profiling, bias and discrimination by BPD, and (iii) BPD traffic stop, traffic ticketing and other

traffic enforcement practices.

         In support of this motion, Plaintiffs file a Memorandum of Law in Support of the Motion

to Compel and the Declaration of Darius Charney, with accompanying exhibits. Plaintiffs affirm

that they have in good faith conferred in an effort to obtain relief without court action but were

not successful in doing so.

         Pursuant to Local Rule 7(a)(1), Plaintiffs hereby state that they intend to file and serve

reply papers. Pursuant to Local Rule 7(b)(2)(B), if the Court does not set deadlines by order, any
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opposition will be due within fourteen days of today, and any reply papers will be due within

seven days of the filing of opposition papers.


Dated: August 30, 2019

                                                     Respectfully submitted,

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